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 4
                                IN THE UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6
      L.B. and M.B., individually and on behalf
 7    of their minor child A.B.; C.M. and A.H.,
      individually and on behalf of their minor
 8    child J.M.; and on behalf of others                Case No. C23-0953-TSZ
      similarly situated,
 9                                Plaintiffs,            STATEMENT OF INTEREST BY THE
                                                         UNITED STATES OF AMERICA
10                     v.
      Premera Blue Cross,
11
                                  Defendant.
12

13                                                INTRODUCTION

14          The United States respectfully submits this Statement of Interest to address the effect of the

15   Supreme Court’s recent decision in United States v. Skrmetti, 145 S. Ct. 1816, 1829 (2025), in this case.

16   See Minute Order (June 20, 2025) (ordering supplemental briefing on Skrmetti’s “effect, if any”), Dkt.

17   No. 176; 28 U.S.C. § 517 (authorizing the Attorney General to attend to the interests of the United States

18   as a non-party in a suit pending in any court of the United States). The United States has a strong interest

19   in the proper interpretation of federal anti-discrimination law, whether constitutional or statutory.

20          In light of Skrmetti, the Court should reconsider its conclusion that “Premera’s medical policy

21   facially discriminates on the basis of sex” (whether “sex” is narrowly or broadly construed), Order 16,

22   Dkt. No. 169, and instead conclude that policies like the one here that classify based on a patient’s age

23   and a treatment’s medical use do not discriminate based on sex.

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 1           1. The medical policy at issue provides coverage for certain medically necessary mastectomies or

 2   breast reduction surgeries but excludes coverage for using such procedures to treat gender dysphoria in

 3   patients under 18 years of age. See Order 6–7. In other words, it covers the treatments for males and

 4   females equally, but not for minors who have “a diagnosis of gender dysphoria.” Id. The medical policy

 5   does not restrict coverage for those treatments on individuals 18 and older; nor does it prohibit coverage

 6   for those procedures to treat minors with diagnoses other than gender dysphoria. See id. So a minor patient

 7   may obtain coverage for medically necessary surgeries to treat other conditions, just not to treat gender

 8   dysphoria.

 9           Premera justifies its coverage exclusion for mastectomies or breast reductions performed on

10   minors diagnosed with gender dysphoria based on “(i) a minor’s insufficient maturity ‘to make a truly

11   informed, educated decision’ and ‘to understand all of the ramifications of such transformation including

12   its irreversibility,’” and (ii) a “dearth of scientifically-sound studies support[ing]” sex transition surgeries

13   for minors. Id. at 7, 8 (quoting Premera medical policy).

14           This Court concluded that the “policy facially discriminates on the basis of sex,” under either a

15   “narrow” definition of sex or a “broader” definition of sex. Order 16–20. As to the “narrow” definition,

16   the Court reasoned that Premera’s policy “treats adolescents differently depending on whether their natal

17   sex is male or female.” Order 17–18. And as to the “broader” definition, the Court reasoned that the

18   “policy discriminates on the basis of sex by overtly differentiating between transgender and cisgender

19   youth or by using the proxy of gender dysphoria.” Order 19–20. In support of both conclusions, the Court

20   relied heavily on Kadel v. Fowell, 100 F.4th 122 (4th Cir. 2024). See Order 17–20.

21           2. Skrmetti addressed a Tennessee law, SB1, under which “a healthcare provider may administer

22   puberty blockers or hormones to any minor to treat a congenital defect, precocious puberty, disease, or

23   physical injury; [but under which] a healthcare provider may not administer puberty blockers or hormones

24   to any minor to treat gender dysphoria, gender identity disorder, or gender incongruence.” 145 S. Ct. at
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 1   1830–31. The law “does not restrict the administration of [those treatments] to individuals 18 and over.”

 2   Id. at 1826. Nor does it “fully ban the administration of [the treatments] to minors. A healthcare provider

 3   may administer [the treatments] to treat a minor’s congenital defect, precocious (or early) puberty, disease

 4   or physical injury”—but not “gender dysphoria, gender identity disorder, and gender incongruence.” Id.

 5   at 1826–27 (quotation modified).

 6          Challengers argued that SB1 discriminates based on sex, in violation of the Fourteenth

 7   Amendment’s Equal Protection Clause. The Supreme Court disagreed, rejecting the challengers’

 8   arguments that the law “classifies on the basis of sex because its prohibitions reference sex,” that

 9   “application of the law turns on sex,” and that the law’s “classifications rest on impermissible [sex]

10   stereotypes.” Id. at 1829–32.

11          3. Like the law in Skrmetti, the medical policy here (i) does not restrict coverage for the surgical

12   procedures on “individuals 18 and over,” and (ii) “does not ban fully [the coverage of such procedures

13   on] minors.” Id. at 1827. A minor patient may obtain coverage for medically necessary procedures to treat

14   other conditions, but not to treat gender dysphoria. See id. (discussing definitions of “congenital defect”

15   and “disease,” and exclusion of “gender dysphoria, gender identity disorder, [and] gender incongruence”

16   from those definitions (quoting the state law at issue)).

17          Therefore, like the state law in Skrmetti, Premera’s medical policy “incorporates two

18   classifications,” neither of which is a sex classification. Id. at 1829. First, the policy “classifies on the

19   basis of age.” Id. Patients may obtain coverage for “certain medical treatments to individuals ages 18 and

20   older but not to minors.” Id. Second, the policy “classifies on the basis of medical use.” Id. Patients may

21   obtain coverage for treatments “to minors to treat certain conditions but not to treat gender dysphoria.”

22   Id.

23          “Neither of the above classifications turns on sex.” Id. Rather, the medical policy restricts

24   coverage for “administering [treatments] to minors for certain medical uses, regardless of a minor’s sex.”
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 1   Id. (emphasis in original). The policy’s mere “reference” to sex does not create a sex-based classification.

 2   Id. at 1829–30. Nor does the policy’s “application . . . turn[ ] on sex.” Id. at 1829–31.

 3          Rather than turning “on whether the[ patient’s] natal sex is male or female,” Order 17–19, the

 4   medical policy (like the state law in Skrmetti) turns on “the underlying medical concern the treatment is

 5   intended to address,” 145 S. Ct. at 1830. And, “[w]hen properly understood from the perspective of the

 6   indications that [the treatments] treat, [the policy] clearly does not classify on the basis of sex.” Id. The

 7   policy “does not prohibit [coverage] for one sex that it permits for the other. Under [the policy], no minor

 8   may [obtain coverage for the treatments] to treat gender dysphoria . . . minors of any sex may be [obtain

 9   coverage for the treatments] for other purposes.” Id. at 1831; see id. at 1834–35 (explaining why

10   “changing a minor’s sex or transgender status does not alter the application of” the challenged state law

11   and why “sex is simply not a but-for cause of [the law’s] operation”).

12          Likewise, the medical policy “does not exclude any individuals from medical treatments on the

13   basis of transgender status but rather removes one set of diagnoses—gender dysphoria . . .—from the

14   range of [coverable] conditions.” Id. at 1833. And, because “there is a ‘lack of identity’ between

15   transgender status and the excluded medical diagnoses,” id. at 1834, gender dysphoria does not function

16   as “a proxy for transgender status,” Order 19–20. See Skrmetti, 145 S. Ct. at 1833 (citing Geduldig v.

17   Aiello, 417 U.S. 484, 496–97 & n.20 (1974)); Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228,

18   2245–46 (2022) (reasoning that abortion regulations are not sex discrimination, even though abortion is

19   “a medical procedure that only one sex can undergo”); Marietta Mem. Hosp. Employee Health Benefit

20   Plan v. DaVita Inc., 142 S. Ct. 1968, 1973–74 (2022) (holding that an insurance plan’s reimbursement

21   limit for dialysis does not violate a statute prohibiting differential treatment of “individuals having end

22   stage renal disease,” even though dialysis is overwhelmingly used to treat end stage renal disease). In

23   short, treating gender dysphoria differently is not discrimination based on “transgender status” (let alone

24   sex), even though only transgender individuals suffer from it.
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 1            Nor does Bostock v. Clayton County “alter [the] analysis.” Skrmetti, 145 S. Ct. at 1834 (citing 590

 2   U.S. 644 (2020)). Because “changing a minor’s sex or transgender status does not alter the application of

 3   [Premera’s policy],” neither sex nor transgender status “is the but-for cause” of a patient’s inability to

 4   obtain coverage. Id. As the Supreme Court explained in Skrmetti, “sex is simply not a but-for cause of

 5   SB1’s operation;” rather a patient’s age and a treatment’s medical use are. Id. at 1835. So too here.

 6            At bottom, it is the medical use of the treatment for minors that matters under Premera’s policy,

 7   not the sex of the patient. That is why the treatment would be covered for a patient with a qualifying

 8   medical condition, but not for a patient without. Plaintiffs have thus not established any forbidden

 9   discrimination.

10            Further driving home the significance of Skrmetti on the Court’s prior conclusion, the Supreme

11   Court also has vacated in light of Skrmetti the Fourth Circuit’s decision in Kadel, on which this Court’s

12   decision primarily relied. See Folwell v. Kadel, No. 24-99, 2025 WL 1787687 (U.S. June 30, 2025); Order

13   15–20.

14            4. Lastly, Skrmetti recognizes the validity of concerns over providing sex transition treatments to

15   minors like those animating Premera’s medical policy. See 145 S Ct. 1835–37. Although not a government

16   policy, and therefore not subject to the same rational-basis review as Skrmetti applied, the medical policy

17   nonetheless stems from serious and valid concerns about “protecting minors’ health and welfare.” Id. at

18   1836. “[O]ngoing debate among medical experts regarding the risks and benefits associated with

19   administering” the procedures at issue to minors justifies declining to cover those procedures as medically

20   necessary. Id. Such “open questions regarding basic factual issues before medical authorities and other

21   regulatory bodies” are a poor fit for judicial resolution in absolute terms under federal anti-discrimination

22   law. Id. at 1837.

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 2          As with the state law at issue in Skrmetti, the medical policy here may “carr[y] with it the weight

 3   of fierce scientific and policy debates about the safety, efficacy, and propriety of medical treatments in an

 4   evolving field.” Id. Federal anti-discrimination law “does not resolve these disagreements. Nor does it

 5   afford [courts] license to decide them as [they] see best.” Id. The Court should reconsider its conclusion

 6   that “Premera’s medical policy facially discriminates on the basis of sex” (whether “sex” is narrowly or

 7   broadly construed), Order 16, and instead conclude that policies like the one here that classify based on

 8   a patient’s age and a treatment’s medical use do not discriminate based on sex.

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10          Dated this 7th day of July, 2025.

11                                                     Respectfully submitted,

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